  Case 17-40025                Doc 70      Filed 01/09/19 Entered 01/09/19 12:06:37           Desc Main
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     FILED & JUDGMENT ENTERED
               Steven T. Salata




              January 9 2019


       Clerk, U.S. Bankruptcy Court
      Western District of North Carolina
                                                                               _____________________________
                                                                                        J. Craig Whitley
                                                                                 United States Bankruptcy Judge




                                UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF NORTH CAROLINA
                                         SHELBY DIVISION

In Re:

JUAN JOSE CORCHADO                                         Case No. 17-40025
SSN: xxx xx 5723                                           Chapter 7

            Debtor(s).
______________________________________


               ORDER AUTHORIZING TRUSTEE TO SETTLE CONTROVERSY

        THIS CAUSE coming on to be heard and being heard before the undersigned Judge of
the United States Bankruptcy Court for the Western District of North Carolina, upon the
Trustee's Motion for Authority to Settle Controversy; and it appearing to the Court that there has
been adequate Notice and an Opportunity for a Hearing as that phrase is defined in the
Bankruptcy Code and the Rules of Bankruptcy Procedure. From the Motion for Authority to
Settle Controversy filed by the Attorney for the Trustee herein, as well as the entire record, the
Court makes the following

                                              FINDINGS OF FACT
         1.         That controversies exist in the subject case as follows:

                    The Trustee asserts that, under 11 U.S.C. § 547(b) (1)(B), the debtor's payments to
                    Discover Bank totaling $5,781.87 within 90 days of the filing of his petition was
                    an avoidable preferential payment, and Discover Bank disputes that all funds paid
                    by the debtor to Discover Bank within 90 days of the petition were avoidable
                    based on new value given.

         2.         That a proposed settlement of said controversies has been negotiated as follows:

                    Without waiving any rights or claims and without any admission of liability,
                    Discover Bank has agreed with the Trustee to settle the controversy by payment to
                    the Trustee of $3,400.00. The Trustee has received payment of the settlement
                    funds and deposited the funds into his IOLTA attorney trust account pending entry
                    of an order on this motion.
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       3.      That the Trustee feels that the proposed settlement of said controversies as set
               forth above is in the best interest of the estate.

                                   CONCLUSIONS OF LAW
         The proposed settlement of the subject controversies is in the best interest of the estate
and the Trustee should be authorized to settle said controversies as set forth in the Findings of
Fact.
         IT IS THEREFORE ORDERED that the Trustee be, and he hereby is, authorized to
settle the subject controversies under the terms and conditions set forth in the Findings of Fact.


This Order has been signed             United States Bankruptcy Court
electronically. The judge’s
signature and court’s seal
appear at the top of the Order.
